        Case: 3:20-cv-00249-wmc Document #: 48 Filed: 03/25/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


DEMOCRATIC NATIONAL COMMITTEE
and DEMOCRATIC PARTY OF WISCONSIN,

                               Plaintiffs,                  Case No. 20- CV-249
   v.

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR. and MARK L. THOMSEN,
IN THEIR OFFICIAL CAPACITIES AS
WISCONSIN ELECTIONS COMMISSIONERS,

                               Defendants.


                   STIPULATION FOR SUBSTITUTION OF COUNSEL


        IT IS STIPULATED, through the undersigned, that LAWTON & CATES, S.C, by Dixon

R. Gahnz, Daniel P. Bach and Terrence M. Polich, be substituted in as counsel in place of Eric J.

Wilson, Deputy Attorney General, and Assistant Attorneys General Brian P. Keenan, S. Michael

Murphy and Jody J. Schmelzer, as attorney of record for Defendants Marge Bostelmann, Julie

M. Glancey, Ann S. Jacobs, Dean Knudson, Robert F. Spindell, Jr. and Mark L. Thomsen, in

their official capacities as Wisconsin Elections Commissioners, in the above-captioned action.

        PLEASE TAKE FURTHER NOTICE that all correspondence and communication should

be directed to Dixon R. Gahnz, Daniel P. Bach and Terrence M. Polich at Lawton & Cates, S.C.

at the address listed below.

        Dated: 3/25/2020                     LAWTON & CATES, S.C.

                                             _/s/ Dixon R. Gahnz_____________
                                             Dixon R. Gahnz, SBN: 1024367
                                             Daniel P. Bach, SBN: 1005751
                                             Terrence M. Polich, SBN: 1031375


                                                1
Case: 3:20-cv-00249-wmc Document #: 48 Filed: 03/25/20 Page 2 of 2




                             345 W. Washington Avenue, Suite 201
                             P.O. Box 2965
                             Madison, WI 53701-2965

                             Phone: (608) 282-6200
                             Fax: (608) 282-6252
                             dgahnz@lawtoncates.com
                             dbach@lawtoncates.com
                             tpolich@lawtoncates.com


Dated: 3/25/2020             ERIC J. WILSON, Deputy Attorney General of
                             Wisconsin


                             _/s/ Brian P. Keenan_______________
                             Brian P. Keenan
                             Assistant Attorney General
                             SBN: 1056525

                             Post Office Box 7857
                             Madison, Wisconsin 53707-7857
                             Phone: (608) 266-0020
                             Fax: (608) 267-2223
                             keenanbp@doj.state.wi.us




                                2
